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TAD/DG:AJE
F. #2021R00825

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

 

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UNITED STATES OF AMERICA INFORMATION

~ against - Gn No. 22-CR-14 (RJD)

(T. 18, U.S.C., §§ 371, 982(a)(7),
SI CI ZHU, 982(b)(1) and 3551 et seq.; T. 21, U.S.C.,
§ 853(p))
Defendant.
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THE UNITED STATES CHARGES:
INTRODUCTION

At all times relevant to this Information, unless otherwise indicated:

I, Background
A. The Medicare and Medicaid Programs

hs The Medicare program (“Medicare”) was a federal health care program
providing benefits to persons who were at least 65 years old or disabled. Medicare was
administered by the Centers for Medicare and Medicaid Services (“CMS”), a federal agency
under the United States Department of Health and Human Services. Individuals who received
benefits under Medicare were referred to as Medicare “beneficiaries.”

2. Medicare was divided into multiple parts. Medicare Part D provided
prescription drug coverage to persons who were eligible for Medicare. Medicare beneficiaries
could obtain Part D benefits in two ways: (a) by joining a prescription drug plan, which covered
only prescription drugs, or (b) by joining a Medicare Advantage Plan, which covered both

prescription drugs and medical services (collectively, “Part D Plans”). These Part D Plans were

 
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operated by private companies, often referred to as drug plan “sponsors,” that were approved by
Medicare.

3. The New York State Medicaid program (“Medicaid”) was a federal and
state health care program providing benefits to individuals and families who met specified
financial and other eligibility requirements, and certain other individuals who lacked adequate
resources to pay for medical care. CMS was responsible for overseeing the Medicaid program
in participating states, including New York. Individuals who received benefits under Medicaid
were similarly referred to as Medicaid “beneficiaries.”

4. In New York State, Medicaid provided coverage to its beneficiaries for
prescription drugs. Medicaid beneficiaries could obtain their prescription drug benefits from
pharmacies either through “fee-for-service” enrollment or through “Medicaid Managed Care
Plans,” which were administered by private insurance companies that were paid by Medicaid.

5. Medicare, Part D Plans, Medicaid and Medicaid Managed Care Plans each
qualified as a “health care benefit program,” as defined by Title 18, United States Code, Section
24(b), and a “Federal health care program,” as defined by Title 42, United States Code, Section
1320a-7b(f).

B. The Defendant and Relevant Individuals and Entities

6. The defendant SI CI ZHU resided in Brooklyn, New York and Staten
Island, New York.

le Pharmacy 1 and Pharmacy 2, companies the identities of which are known
to the United States, were pharmacies located in Brooklyn, New York (together, the “Scheme
Pharmacies”). Pharmacy 1 was registered as a pharmacy establishment with the State of New

York since approximately September 2008, and Pharmacy 2 was so registered since

 

approximately March 2016. The defendant SI CI ZHU was an owner and officer of the Scheme
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Pharmacies. Among other things, ZHU was responsible for signing checks on behalf of the
Scheme Pharmacies.

8. Clinic 1, an entity the identity of which is known to the United States, was
a medical practice located near the Scheme Pharmacies in Brooklyn, New York.

9. Co-Conspirator 1, an individual whose identity is known to the United
States, was an employee of Clinic 1.

10. Individual 1, an individual whose identity is known to the United States,
was listed as an owner and officer of the Scheme Pharmacies in registration materials filed with
the New York State Board of Pharmacy, but Individual 1 was generally not involved in the
operations or decision-making of the Scheme Pharmacies. Individual 1 was Co-Conspirator 1’s

former spouse.

11. Doctor 1, an individual whose identity is known to the United States, was
a physician who worked at Clinic 1 in or about and between at least 2019 and 2021.

12. Company 1, an entity the identity of which is known to the United States,
was a company owned by a relative of Doctor 1.

Il. The Kickback Scheme
13. In or about and between January 2010 and January 2021, the defendant SI

CI ZHU, together with others, agreed to offer and pay illegal kickbacks to individuals associated
with Clinic 1.

14. _ In particular, in order to generate business and obtain referrals of
customers, the defendant SI CI ZHU, together with others, agreed to pay Co-Conspirator 1 and
Doctor 1 in exchange for the referral of beneficiaries to the Scheme Pharmacies.

15. In furtherance of the scheme, the defendant SI CI ZHU, together with

others, signed checks drawn on the Scheme Pharmacies’ bank accounts and made payable to

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Individual 1, as purported wages and salary, and to Company 1. ZHU and others made these
payments in exchange for the referral of Medicare and Medicaid beneficiaries to the Scheme
Pharmacies.

CONSPIRACY TO OFFER AND PAY HEALTH CARE KICKBACKS

16. The allegations contained in paragraphs one through 15 are realleged and
incorporated as if fully set forth in this paragraph.

17. In or about and between January 2010 and January 2021, both dates being
approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant
SI CI ZHU, together with others, did knowingly and willfully conspire to offer and pay
kickbacks, directly and indirectly, overtly and covertly, in cash and in kind, to persons to induce
such persons to refer Medicare and Medicaid beneficiaries to the Scheme Pharmacies for the
furnishing and arranging for the furnishing of services and items for which payment may have
been made in whole and in part under Part D Plans, Medicaid and Medicaid Managed Care
Plans, contrary to Title 42, United States Code, Section 1320a-7b(b)(2)(A). ,

18. In furtherance of the conspiracy and to effect its objects, within the
Eastern District of New York and elsewhere, the defendant SI CI ZHU, together with others,

committed and caused the commission of, among others, the following:

 

OVERT ACTS
(a) On or about April 18, 2018, ZHU signed a check written from a

bank account held in the name of Pharmacy 2 and made payable to Individual 1 in the amount of

$83,953.

 

 
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(b) On or about September 4, 2020, ZHU signed a check written from
a bank account held in the name of Pharmacy 1 and made payable to Company | in the amount
of $28,932.

(c) On or about September 18, 2020, ZHU signed a check written
from a bank account held in the name of Pharmacy 1 and made payable to Company 1 in the
amount of $30,728.

(d) | Onor about September 21, 2020, ZHU signed a check written
from a bank account held in the name of Pharmacy 1 and made payable to Company | in the
amount of $3,000.

(Title 18, United States Code, Sections 371 and 3551 et seq.)

CRIMINAL FORFEITURE ALLEGATION

19. The United States hereby gives notice to the defendant that, upon her
conviction of the offense charged herein, the government will seek forfeiture in accordance with
Title 18, United States Code, Section 982(a)(7), which requires any person convicted of a federal
health care offense to forfeit property, real or personal, that constitutes, or is derived directly or
indirectly from, gross proceeds traceable to the commission of such offense.

20. = Ifany of the above-described forfeitable property, as a result of any act or
omission of the defendant:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the court;

(d) has been substantially diminished in value; or

 
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(e)
without difficulty;

 

has been commingled with other property which cannot be divided

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), as

incorporated by Title 18, United States Code, Section 982(b)(1), to seek forfeiture of any other

property of the defendant up to the value of the forfeitable property described in this forfeiture

allegation.

(Title 18, United States Code, Sections 982(a)(7) and 982(b)(1); Title 21, United

States Code, Section 853(p))

 

  

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REON PEA

ITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK

 
 

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JOSEPH S. BEEMSTERBOER
ACTING CHIEF, FRAUD SECTION
CRIMINAL DIVISION
U.S. DEPARTMENT OF JUSTICE

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